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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


 DONALD J. TRUMP FOR PRESIDENT,
 INC., REPUBLICAN NATIONAL
 COMMITTEE, NEW JERSEY
 REPUBLICAN STATE COMMITTEE,
                                           No. 3:20-cv-10753-MAS-ZNQ
                    Plaintiffs,

        v.
                                           PLAINTIFFS’ MOTION FOR ORDER TO
 TAHESHA WAY, in her official capacity     SHOW CAUSE WHY A PRELIMINARY
 as Secretary of State of New Jersey,      INJUNCTION SHOULD NOT ISSUE

                    Defendant.
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       Plaintiffs hereby move for an order to show cause why a preliminary injunction should not

issue enjoining enforcement of New Jersey’s new legislation authorizing (1) election officials to

begin canvassing ballots 10 days before Election Day and (2) election officials to canvass ballots

received up to 48 hours after Election Day that contain no postmark. See An Act Concerning the

Establishment of Mail-in Ballot Drop Boxes Before Each Election and Vote-by-Mail Procedures

for the November 2020 General Election, NJ LEGIS 72 §2(m) (2020) (codified at N.J. Stat.

§19:63-31(m)). Those two provisions are preempted by a trio of statues that Congress passed to

create a single, uniform Election Day. See 2 U.S.C. §§1, 7; 3 U.S.C. §1. This motion is based on

the memorandum, declaration, and exhibits filed herewith, and the pleadings on file. Pursuant to

Local Rule 65.1, an expedited posture is necessary for reasons provided in the declaration of Bryan

Weir, attached hereto.

       Pursuant to the Court’s September 14 order, counsel for Plaintiffs conferred with counsel

for Defendant Tahesha Way and Intervenor-Defendant DCCC on a proposed briefing schedule for

this motion. Counsel for Defendant and Intervenor-Defendant deferred agreeing to a briefing

schedule pending review of this motion once it was filed. The parties anticipate updating the Court

today with their views on a proposed briefing schedule.



Dated: September 16, 2020                             Respectfully submitted,




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